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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
CASE NO. 15-CR-171

UNITED STATES OF AMERICA ) ORDER ON MOTION FOR
) REDUCTION IN SENTENCE
V. ) UNDER 18 U.S.C. § 3582(c)(1)(A)
EDWARD DURANTE ) (COMPASSIONATE RELEASE)

)

 

Upon motion of of the defendant O) the Director of the Bureau of Prisons for a reduction

in sentence pursuant to 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors set
forth in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing
Commission to the extent they are relevant to whether a deduction is warranted (and, if so, the
amount of the reduction),

IT IS ORDERED that the motion is:

[] GRANTED

[1 The defendant’s previously imposed sentence of imprisonment of is reduced to

; or

 

(] Time served:

C The defendant is to remain in Bureau of Prisons custody until the

defendant’s residence can be verified or a release plan can be developed.
Additional custody shall not exceed days unless extended by the

Court, or
O An appropriate release plan is in place and the defendant shall be released

immediately.
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SUPERVISED RELEASE

C) The defendant’s term of supervised release is unchanged.
[] The defendant’s term of supervised release is changed from to
(] The defendant’s conditions of supervised release are unchanged.

C1 The defendant’s conditions of supervised release are modified as follows:

 

 

 

 

 

 

 

 

 

 

CL) DEFERRED pending supplemental briefing and/or a hearing. The court DIRECTS the United

States Attorney to file a response on or before , along with all Bureau of
Prisons records [medical, institutional, administrative] supporting the approval or denial of this
motion.

oornep after complete review of the motion on the merits.

CL] FACTORS CONSIDERED (Optional)

 

 

 

 

 
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CO) DENIED WITHOUT PREJUDICE for failure to exhaust remedies (failure to fully

exhaust all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on
the defendant’s behalf; the lapse of 30 days from the receipt of such a request by the Warden,

whichever is earlier).

IT IS SO ORDERED. 7 Ce
November 4, 2020 2 ~

UNITED STATES DISTRICT JUDGE

 
